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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE
                                                       )
In re:                                                 )       Chapter 11
                                                       )
PES HOLDINGS, LLC, et al                               )       Case No. 19-11626 (LSS)
                                                       )
                                 Debtors.              )       (Jointly Administered)
                                                       )
                                                       )
PES HOLDINGS, LLC, et al                               )
                                                       )
                                 Plaintiffs,           )       Adversary Proceeding
                                                       )
                                 v.                    )       Adv. No. 20-50454 (LSS)
                                                       )
ALLIANZ GLOBAL RISKS US INSURANCE                      )       Re: Adv. Docket No. 95
CO., et al.                                            )
                                                       )
                                 Defendants.           )
                                                       )


                             SECOND AMENDED SCHEDULING ORDER

         To promote the efficient and expeditious disposition of adversary proceedings, the

following schedule shall apply to each of the above-captioned adversary proceedings.

         IT IS HEREBY ORDERED that:

         1.          Fact Discovery Cut-Off. All fact discovery will be completed on or before

May 17, 2021. Unless otherwise ordered by the Court or agreed to by the parties, pursuant to

Local Rule 7016-1(b)(ii), the limitations on discovery set forth in District Court Local Rule 26.1

shall be strictly observed. The parties have agreed to expand the number of depositions beyond

the 10 provided for in the Federal Rule of Civil Procedure due to the number of parties and the


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complexity of the issues. Any dispute regarding the final number of depositions shall be subject

to a meet and confer between the parties and, if necessary, a motion with the Court.

        2.           Disclosure of Expert Testimony. The parties shall serve their initial Federal

Rule of Civil Procedure 26(a)(2) disclosures of expert testimony or before May 24, 2021, for any

issue on which they bear the burden of proof. If applicable, the parties shall file a supplemental

disclosure to contradict or rebut evidence on the same subject matter identified by another party

on or before June 24, 2021. All reports shall provide the information required by Fed.R.Civ.P.

26(a)(2)(B).

        3.          Expert Discovery Cut-Off. All expert discovery, including depositions, will be

completed on or before August 5, 2021.

        4.          Dispositive Motion Deadline. Pursuant to Local Rule 7007-1, the following

deadlines shall apply to the filing and briefing of dispositive motions: All dispositive motions

shall be filed and served by no later August 6, 2021. Opposition papers shall be filed and served

August 26, 2021. Reply papers shall be filed and served September 3, 2021.

        5.          Exhibit and Witness Lists. The parties shall exchange their exhibit and witness

lists for trial no later than August 25, 2021.

        6.          Proposed Pre-Trial Order. Pursuant to Local Rule 7016-2(d), Plaintiffs shall

file a proposed pretrial order agreed to by the parties no later than September 1, 2021.

        7.          Pretrial Conference. A final pre-trial conference in accordance with Local Rule

7016-2(a) is September 8, 2021.

        8.           Joint Pre-Trial Memorandum. The parties shall comply with the General Order

Governing Pretrial Procedures in Adversary Proceedings Set for Trial Before Judge Laurie

Selber Silverstein. The parties shall file, no later than five (5) business days prior to the date set



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for Trial, their Joint Pretrial Memorandum approved by all counsel and shall contemporaneously

deliver two (2) copies thereof to Judge Silverstein’s chambers.

        9.          Trial. Trial will begin on September 20, 2021.

        10.         The parties intend that the Order Approving Confidentiality Agreement and

Stipulated Protective Order (ECF Doc. 810) will apply in this Adversary Proceeding.




                                                           LAURIE SELBER SILVERSTEIN
                     Dated: February 11th, 2021            UNITED STATES BANKRUPTCY JUDGE
                     Wilmington, Delaware




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